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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1719V
                                      (not to be published)


    EMILY BRAWNER,
                                                             Chief Special Master Corcoran
                         Petitioner,
    v.                                                       Filed: December 11, 2019


    SECRETARY OF HEALTH AND                                  Special Processing Unit                (SPU);
    HUMAN SERVICES,                                          Attorney’s Fees and Costs


                        Respondent.


John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Gabrielle Manganiello Fielding, U.S. Department of Justice, Washington, DC, for
Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

      On November 6, 2018, Emily Brawner (“Petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that she suffered from Guillain
Barre Syndrome (“GBS”) as a result of an influenza (“flu”) vaccination administered on
November 6, 2015. (Petition at 1). On November 21, 2019, a decision was issued
awarding compensation to Petitioner based on the parties’ stipulation. (ECF No. 31).



1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated December 2,
2019, (ECF No. 35) requesting a total award of $22,511.18 (representing $22,007.50 in
fees and $503.68 in costs). In accordance with General Order #9, Petitioner filed a signed
statement stating Petitioner incurred no out-of-pocket expenses. (ECF No. 35-4.)
Respondent reacted to the motion on December 5, 2019 indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case. (ECF No. 36). On December 5, 2019, Petitioner filed her reply stating she does not
intend to file substantive reply. (ECF No. 37).

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $22,511.18 (representing $22,007.50 in attorney’s fees and $503.68 in
costs) as a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s
counsel. In the absence of a timely-filed motion for review (see Appendix B to the Rules
of the Court), the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
